Case 1:18-Cv-00632-R.].]-P.]G ECF No. 1-6 filed 06/05/18 Page|D.22 Page 1 of 1

 

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Hart Post ma.=.crow

GOVERNOR

Monday, Nov 13 20?7

lvir. John Heykoop
Eagie Towing

10255 O!d Highway 31
Momague, M¥ 49437

Re: Har’s Post No Preference Wrecker Li_st 7

Dr.. Mr. Heykoop,

Please be advised that as of this da£e. Msnd'ay November 13 2017, Eagfe Towing'is being removed from
the No Preference Wrecker iist for the Hari Post. This is due to the quality and type of service that Eag!e
Towing has provided within the Hart Post are. ` '

Sincereiy,

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FlLt Jeffrey White

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